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                                      REPLY TO MONTCLAIR OFFICE


                                          November 2, 2020

                   LETTER-MOTION, ON CONSENT, FOR A ONE TIME
                          MODIFICATION OF CONDITIONS
                            OF SUPERVISED RELEASE

    Served and Filed Via ECF
    Hon. Ronnie Abrams, U.S.D.J.
    Thurgood Marshall United States Courthouse
    40 Foley Square
    New York, N.Y. 10007

                   Re:     United States v. Starly Hernandez, 17-cr-618(RA)

    Dear Judge Abrams:

          I am writing, respectfully, with the consent of the United States and the
    approval of Probation, to request a one-time modification of Mr. Hernandez’
    conditions of supervised release to allow him to travel to and from the
    Dominican Republic to visit his aging (95 years old) grandfather. The duration of
    travel is one week.

          As the record will reflect, I served as Mr. Hernandez’ counsel, pursuant to
    Your Honor’s CJA appointment, when the case was before you in 2017. My client
    entered as guilty plea and, on September 14, 2018, the Court imposed a
    custodial term of 24 months to be followed by three years of supervised release.
    (ECF Doc. 185.) Mr. Hernandez was released from BOP custody to supervised
    release earlier this year and has been doing well ever since. He is close to his
    grandfather and understandably concerned that he may not get a chance to see
    him. Unfortunately, his grandmother passed away while Mr. Hernandez was
    incarcerated.

          I have discussed this request with Mr. Hernandez’ supervising Probation
    Officer, Sonales Gonzalez (copied here), and she approves, with the
    understanding that Mr. Hernandez will advise her of dates of departure and
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RUHNKE & BARRETT                                  HON. RONNIE ABRAMS, U.S.D.J.
Attorneys at Law                                               November 2, 2020
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return and provide contact information in the Dominican Republic. The
Government defers to the judgment of Probation and does not oppose the
request.

     The Court’s attention to this matter is appreciated. Please advise if Your
Honor has any questions. If the request is approved, please So-Order this letter-
motion with instructions that it be filed. Thank you.

                                       Respectfully submitted,
                                       David A. Ruhnke
                                       David A. Ruhnke
                                       Counsel to Starly Hernandez

cc;      All parties via ECF
         Sonales Gonzalez, U.S.P.O. via email

      Application granted.

      SO ORDERED.


      _______________________
      Ronnie Abrams, U.S.D.J.
      November 2, 2020
